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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JANE DOE, individually and on behalf of all others
 similarly situated,
                               Plaintiff,                   Case No. 1:25-cv-03305 (JLR)
                        -against-
                                                                      ORDER
 ALYK, INC.,
                               Defendant.


JENNIFER L. ROCHON, United States District Judge:

       Plaintiff commenced this action on April 21, 2025. Dkt. 1. The Complaint was filed

under the pseudonym Jane Doe. “The use of pseudonyms runs afoul of the public’s common

law right of access to judicial proceedings, a right that is supported by the First Amendment,”

although there are a “limited number of exceptions to the general requirement of disclosure of

the names of parties, which permit plaintiffs to proceed anonymously.” Doe v. Delta Airlines,

Inc., 310 F.R.D. 222, 224 (S.D.N.Y. 2015) (brackets, quotation marks, and citations omitted),

aff’d, 672 F. App’x 48 (2d Cir. 2016) (summary order). Plaintiff did not yet seek leave to

proceed under a pseudonym. Plaintiff shall submit an appropriate application, including a

proposed order, on or before April 30, 2025, explaining why she should be permitted to

proceed under a pseudonym.

Dated: April 23, 2025
       New York, New York

                                                          SO ORDERED.



                                                         JENNIFER L. ROCHON
                                                         United States District Judge




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